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 2                                                            The Honorable Ricardo S. Martinez
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 8                           IN THE UNITED STATES DISTRICT COURT FOR THE
                                   WESTERN DISTRICT OF WASHINGTON
 9
10   MELISSA GODSEY,
11                   Plaintiff,                      Case No. 2:19-cv-01498
12          v.                                       PLAINTIFF’S MOTION FOR FEES
                                                     AND COSTS
13
     KATHLEEN HAWK SAWYER, in her official
     capacity as Director of the Federal Bureau of   NOTE ON MOTION CALENDAR:
14                                                   JANUARY 3, 2020
     Prisons, NICOLE C. ENGLISH, in her official
15   capacity as Assistant Director of the Health
     Services Division of the Federal Bureau of
16   Prisons,
17
                     Defendants.
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 1                                       I.    INTRODUCTION
 2          Plaintiff Melissa Godsey brought suit against Defendants, Dr. Kathleen Sawyer, Acting
 3   Director of the Federal Bureau of Prisons (“BOP”) and Dr. Nicole C. English, Assistant Director
 4
     of the Health Services Division of the BOP (collectively, “Defendants”) challenging BOP’s
 5
     policies and practice of denying medication-assisted treatment (“MAT”) to people incarcerated
 6
     in BOP facilities. Plaintiff alleged that BOP policies constituted (1) deliberate indifference to
 7

 8   serious medical need in violation of the Eighth Amendment’s prohibition against cruel and

 9   unusual punishment and (2) unlawful discrimination against Plaintiff on the basis of disability

10   and denial of reasonable accommodations in violation of the Rehabilitation Act. Complaint, ¶¶
11
     88-98 (Dkt. No. 1).
12
            As a result of her lawsuit and the settlement agreement with Defendants, BOP will be
13
     departing from their written policies and practices of not providing MAT for treatment of opioid
14
     use disorder, and will be providing Ms. Godsey with her prescribed medications. Accordingly,
15

16   Ms. Godsey now seeks attorney’s fees and costs under the Rehabilitation Act, 29 U.S.C. § 794a.

17                                              II.   Facts
18          Ms. Godsey suffers from opioid use disorder and has struggled with addiction since she
19
     was 21 years old. Emergency Motion for Temporary Restraining Order and Preliminary
20
     Injunction at 6 (Dkt. No. 2) (“TRO Motion”). On June 14, 2018, she started a Suboxone program
21
     and inpatient treatment. Id. Under treatment with Suboxone, Ms. Godsey has now been in active
22
     recovery for eighteen months. Her treating physician’s medical opinion is that Suboxone
23

24   treatment is medically necessary to treat Ms. Godsey’s OUD. Id. at 7.

25          Although the BOP permits the use of methadone for pain management, as a matter of
26   policy and practice the BOP does not provide methadone or buprenorphine to non-pregnant
27
     PLAINTIFF’S MOTION FOR
     FEES AND COSTS                                                   AMERICAN CIVIL LIBERTIES UNION OF
     CASE NO. 2:19-CV-01498 - 1                                               WASHINGTON FOUNDATION
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 1   inmates who suffer from OUD for treatment, even those who have been successfully prescribed
 2   these medications before their incarceration and are in active recovery. TRO Motion at 7 (citing
 3
     Federal Bureau of Prisons, Program Statement: Pharmacy Services, No. P6360.01, at 37 (Jan 15,
 4
     2005), http://www.bop.gov/policy/progstat/6360_001.pdf 1; Federal Bureau of Prisons Health
 5
     Services, National Formulary Part I, at 15 (Winter 2018), https://www.bop.gov/resources/pdfs
 6

 7   /national_formulary-part_I-2018.pdf. 2 The BOP’s Pharmacy Services Program Statement and

 8   National Formulary, which apply to and bind all BOP institutions, mandate that “inmates will not

 9   be maintained on methadone with the exception of pregnant inmates,” and that buprenorphine
10   will “NOT” be approved for “maintenance therapy.” Id. There are no exceptions to this policy.
11
                On August 16, 2019, Ms. Godsey’s counsel sent a letter to Defendants informing them of
12
     her serious medical need and requesting assurance that Ms. Godsey would be provided with her
13
     physician-prescribed dose of Suboxone while in their custody. See Complaint ¶ 84. On August
14

15   30, 2019, counsel for the BOP sent Ms. Godsey’s counsel a letter stating that Ms. Godsey would

16   be given an individualized assessment of her general medical needs and would be given

17   treatment of some kind. Id. ¶ 85. The letter also requested copies of Ms. Godsey’s medical
18
     records, and directed all questions to Dr. James K. Pelton, BOP Regional Medical Director. Id.
19
     Counsel for Ms. Godsey called Dr. Pelton and though he stated that efforts were being made to
20
     provide Ms. Godsey with Suboxone during her incarceration, when asked to confirm this in
21
     writing, he directed counsel to George Cho, an attorney with the BOP. Id.
22

23
     1
         The Program Statement states on page 37 that there are “only three approved uses for methadone within BOP
24
         institutions,” which are “Treatment of opiate addicted pregnant inmates; Detoxification of opiate addicted inmates;
         and Treatment of severe pain.”
25
     2
         The National Formulary states on page 15 that buprenorphine (Subutex, Suboxone) “[w]ill only be approved for
26       detoxification, NOT for pain or maintenance therapy.”

27
     PLAINTIFF’S MOTION FOR
     FEES AND COSTS                                                               AMERICAN CIVIL LIBERTIES UNION OF
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 1           Counsel for Ms. Godsey sent Mr. Cho and Timothy Rodrigues, Supervisory Attorney and
 2   Senior Attorney with the BOP, an email on September 9, 2019, reiterating the request in the
 3
     August 16, 2019 letter for confirmation that Ms. Godsey would receive Suboxone during her
 4
     incarceration. Id. ¶ 86. Mr. Rodrigues did not provide such confirmation in his email response,
 5
     and only reiterated that Ms. Godsey would be given an individualized assessment of her medical
 6

 7   needs upon arriving at the BOP facility. Id.

 8           On September 10, 2019, Ms. Godsey’s criminal defense counsel filed a motion in her

 9   criminal case to extend her self-report date to give the parties more time to come to a resolution
10   without resorting to litigation. See Midgley Decl. Ex. E . On September 17, 2019, the
11
     government filed an opposition to Ms. Godsey’s motion to extend her self-report date in her
12
     criminal case. See Midgley Decl. Ex. F.
13
             Counsel for the BOP would not confirm that Ms. Godsey’s treatment would be
14

15   continued, nor would they state that Defendants could or would deviate from their mandatory

16   blanket prohibition of Suboxone maintenance treatment for inmates. Furthermore, the

17   government opposed extending Ms. Godsey’s self-report date to allow for more time to resolve
18
     the issue.
19
             Accordingly, Ms. Godsey filed suit on September 18, 2019, and on September 19, 2019,
20
     filed an Emergency Motion for Temporary Restraining Order and Preliminary Injunction (“TRO
21
     Motion”) (Dkt. No. 2). Ms. Godsey was scheduled to self-report to a BOP facility to begin a two
22

23   year and one day sentence on September 30, 2019, and the TRO Motion sought emergency

24   injunctive relief to allow her to continue on her prescribed medication while in BOP custody. On
25   September 23, 2019, Ms. Godsey’s voluntary surrender date was postponed to January 28, 2020.
26

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     PLAINTIFF’S MOTION FOR
     FEES AND COSTS                                                  AMERICAN CIVIL LIBERTIES UNION OF
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 1   On the same day, after Ms. Godsey’s voluntary surrender date was postponed, counsel for
 2   Ms. Godsey filed a Withdrawal of Request for Temporary Restraining Order, and renoted the
 3
     Motion for Preliminary Injunction (Dkt. No. 12). The Parties began settlement negotiations, and
 4
     Plaintiff extended the noting date of the Motion for Preliminary Injunction on three more
 5
     occasions to allow for settlement negotiations to continue. See Dkt Nos. 15, 16, 17.
 6

 7          The parties reached a settlement in principle on November 6, 2019, and finalized a

 8   settlement agreement on November 26, 2019. The settlement states that BOP’s medical staff

 9   have determined that Ms. Godsey “is a medically appropriate and reasonable candidate for
10   medication assisted treatment using Suboxone for her opioid use disorder,” and, barring any
11
     significant changes in her medical condition, that the BOP will provide her with her Suboxone
12
     medication while in BOP’s custody. Settlement Agreement at 2 (Dkt. No. 21, Ex. 1).
13
            The settlement agreement specifically states that it did not cover costs and fees. See Id.
14

15   ¶11. On December 3, 2019, this Court entered the Parties’ proposed order dismissing the case

16   without prejudice and retaining jurisdiction to resolve disputes arising under the settlement

17   agreement. (Dkt. No. 22). That Order, as proposed jointly by the parties, specifically states, as
18
     pertinent here, that it was entered “without prejudice to…the rights of Plaintiff’s counsel to seek
19
     the payment of fees and costs.” Id. at ¶ 2.
20
                                          III.     ARGUMENT
21
            The Rehabilitation Act provides the Court with discretion to award attorney’s fees and
22

23   costs to the “prevailing party,” other than the United States, in any action or proceeding to

24   enforce the Rehabilitation Act. 29 U.S.C. § 794a. Plaintiff is a prevailing party, as she gained all

25   the relief she sought through a settlement agreement that is enforceable by this Court.
26

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     PLAINTIFF’S MOTION FOR
     FEES AND COSTS                                                   AMERICAN CIVIL LIBERTIES UNION OF
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 1           In determining fee awards under the Rehabilitation Act, courts follow the familiar
 2   “lodestar” method. Hall v. Bolger, 768 F.2d 1148, 1150-51 (9th Cir. 1985); Snell v. N. Thurston
 3
     Sch. Dist., No. C13-5786 RBL, 2015 WL 8621913, at *2 (W.D. Wash. Dec. 14, 2015). The
 4
     lodestar is calculated by taking the number of hours reasonably expended by counsel and
 5
     multiplying it be the reasonable hourly rate. Id.
 6

 7           Attached to this motion is the Declaration of John Midgely explaining the calculation of

 8   the ACLU’s fees in the amount of $40,872 and costs in the amount of $2,060.57. The

 9   Declaration of Bart Freedman is attached, detailing the calculation of attorneys’ fees in the
10   amount of $18,659 incurred by the law firm K&L Gates in the proceedings for the case at bar.
11
     Based on the Declarations of counsel, Plaintiff requests fees in the amount of $59,531 and costs
12
     in the amount of $2,060.57.
13
             The amount of time counsel spent on the litigation was reasonable. Plaintiff made every
14

15   effort to avoid litigation and to work with Defendants’ counsel prior to filing her lawsuit. Given

16   her impending self-report date and the government’s initial opposition to extending her self-

17   report date, Plaintiff necessarily filed an emergency motion for injunctive relief to prevent
18
     irreparable harm to her. It was only after this lawsuit and the motion for emergency injunctive
19
     relief were filed that Defendants were willing to commit to making an exception to their policy
20
     prohibiting MAT for treatment purposes. Therefore, as the prevailing party, Plaintiff is entitled to
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     fees and costs for her counsel’s efforts in this litigation, up to the point of settlement.
22

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     ///
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     ///
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     ///
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     PLAINTIFF’S MOTION FOR
     FEES AND COSTS                                                     AMERICAN CIVIL LIBERTIES UNION OF
     CASE NO. 2:19-CV-01498 - 5                                                 WASHINGTON FOUNDATION
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 1                                    IV.    IV. CONCLUSION
 2          For the foregoing reasons, Plaintiff requests that the Court award fees and costs in the
 3   amount of $61,591.57, as requested.
 4
            DATED this 17th day of December 2019.
 5
                                                  Respectfully submitted,
 6
                                                  AMERICAN CIVIL LIBERTIES UNION OF
 7
                                                  WASHINGTON FOUNDATION
 8
                                                  By: /s/Lisa Nowlin________________________
 9                                                   Lisa Nowlin, WSBA No. 51512
                                                     John Midgley, WSBA No. 6511
10                                                   Mark Cooke, WSBA No. 40155
                                                     ACLU of Washington Foundation
11
                                                     P.O. Box 2728
12                                                   Seattle, WA 98111
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14                                                   mcooke@aclu-wa.org
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17                                                   Christina A. Elles, WSBA #51594
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20                                                   christina.elles@klgates.com
                                                     Attorneys for Plaintiff
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     PLAINTIFF’S MOTION FOR
     FEES AND COSTS                                                 AMERICAN CIVIL LIBERTIES UNION OF
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 1                                   CERTIFICATE OF SERVICE
 2          I hereby certify that on December 17, 2019, a copy of the foregoing Plaintiff’s Motion for
 3
     Fees and Costs was electronically filed with the Clerk of the Court using the CM/ECF system,
 4
     which will send notification of such filing to counsel of record named below.
 5
            Michelle R. Lambert, NYS #4666657
 6          Assistant United States Attorney
 7          United States Attorney’s Office
            1201 Pacific Avenue, Suite 700
 8          Tacoma, WA 98402
            Phone: 253-428-3824
 9          Fax: 253-428-3826
            E-mail: michelle.lambert@usdoj.gov
10

11   DATED this 17th day of December, 2019.
12
                                                         By: s/ Lori Moltz                   .
13                                                          Lori Moltz
                                                            Practice Specialist
14                                                          K&L Gates LLP
                                                            925 4th Avenue #2900
15                                                          Seattle, WA 98104
                                                            Telephone: (206) 623-7580
16                                                          Lori.Moltz@klgates.com

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